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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

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UNITED STATES OF AMERICA NO. 4 JUL Te pi : : 3
. 3-24CR-297-N
JAMARION WHITE
INDICTMENT
The Grand Jury charges:
Count One

Possession of a Machinegun
(Violation of 18 U.S.C. § 922(0))

On or about June 12, 2024, in the Dallas Division of the Northern District of
Texas, the defendant, Jamarion White, did knowingly possess a machinegun, to wit: a
Glock, Model 19X, 9mm caliber pistol, bearing serial number BKRR672, with an
attached machinegun conversion device (commonly referred to as a “Glock switch”),
knowing that the weapon had the characteristics that made it a machinegun, as defined in
26 U.S.C. § 5845(b).

In violation of 18 U.S.C. § 922(0).

Indictment—Page 1

Case 3:24-cr-00297-N Document6 Filed 07/16/24 Page2of3 PagelD 18

Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of the offense alleged in Count One of this Indictment, and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant, Jamarion White,
shall forfeit to the United States of America any firearm and ammunition involved or
used in the offense.

This property includes, but is not limited to, the following:

1. a Glock, Model 19X, 9mm caliber pistol, bearing serial number BKRR672,

with an attached machinegun conversion device (commonly referred to as a
“Glock switch”), and any magazine and ammunition recovered with the

firearm.
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A TRUE BILL:

LEIGHA SIMONTON
UNITED STATES ATTORNEY

Lawarce

MARISSA AULBAUGH

Assistant United States Attorney
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Indictment—Page 2

Case 3:24-cr-00297-N Document6 Filed 07/16/24 Page3of3 PagelID 19

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA

JAMARION WHITE

INDICTMENT

18 U.S.C. § 922(0)

Possession of a Machinegun
(Count 1)

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

A true bill rendered

Warrant to be Issued - In State Custody

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UNITED STAT ISTRATE JUDGE
Magistrate Co ber: 3:24-MJ-565

